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                          Prioritizing Military Excellence and Readiness

On January 27, 2025, the President signed Executive Order 14183, Prioritizing Military Excellence and
Readiness. The executive order states that “expressing a false ‘gender identity’ divergent from an
individual’s sex cannot satisfy the rigorous standards necessary for Military Service.” On February 7, 2025,
the Secretary of Defense signed a memorandum that paused all new accessions and medical procedures
for individuals with a current diagnosis or history of gender dysphoria and directed the Under Secretary of
Defense for Personnel and Readiness to provide additional policy guidance to senior DoD leadership on
implementation. That guidance was signed on February 26, 2025.

This document provides answers to some commonly asked questions. The answers here are intended to
provide a general overview of departmental policies and are not intended to alter or amend those policies.
The answers in this document are intended to apply broadly to the Force as a whole and the term “Service
member” is used with that intent. When there is a meaningful distinction between the Active and Reserve
component, more specific terms are used to highlight and clarify the distinction.

The answers contained in this document do not constitute legal advice. Please refer to the policy
documents and direct any specific questions through your chain of command or supervisory chain or to
the appropriate medical, legal, or personnel policy experts.

FREQUENTLY ASKED QUESTIONS


                                              DEFINITIONS


How does the Department deﬁne gender dysphoria?
Gender dysphoria refers to a marked incongruence between one’s experienced or expressed gender and
assigned gender of at least 6 months’ duration, as manifested by conditions associated with clinically
signiﬁcant distress or impairment in social, occupational, or other important areas of functioning.

How does the Department deﬁne “gender identity?”
Consistent with Executive Order 14168, Defending Women from Gender Ideology Extremism and Restoring
Biological Truth to the Federal Government, the Department deﬁnes ‘gender identity’ as “a fully internal and
subjective sense of self, disconnected from biological reality and sex and existing on an inﬁnite continuum,
that does not provide a meaningful basis for identiﬁcation and cannot be recognized as a replacement for
sex.”

How does the Department deﬁne sex?
Consistent with Executive Order 14168, Defending Women from Gender Ideology Extremism and Restoring
Biological Truth to the Federal Government, the Department deﬁnes ‘sex’ as “an individual’s immutable
biological classiﬁcation as either male or female.”




                                             APPLICABILITY


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Who exactly is impacted by this policy?
Any Service member or applicant for military service who has a current diagnosis or history of, or exhibits
symptoms consistent with, gender dysphoria and any Service member or applicant for military service who
has a history of cross-sex hormone therapy or sex reassignment or genital reconstruction surgery as
treatment for gender dysphoria, in pursuit of a sex transition.

How many Service members are impacted by this policy?
We do not have an exact number of active duty Service members diagnosed with gender dysphoria.

How will the Department identify Service members who are impacted by this policy?
The Department will provide supplemental guidance which will address the identiﬁcation of Service
members diagnosed with gender dysphoria.



                                              ACCESSIONS


If an individual was diagnosed with gender dysphoria as a child, are they disqualiﬁed from military
service?
Yes. However, applicants may be considered for a waiver on a case-by-case basis, provided there is a
compelling government interest in accessing the applicant that directly supports warﬁghting capabilities.
The applicant must be willing and able to adhere to all applicable standards, including the standards
associated with the applicant’s sex.

Will oﬀers of admission to Military Service Academies or ROTC programs be rescinded?
Yes, oﬀers of admission to a Military Service Academy or the Reserve Oﬃcers’ Training Corps to individuals
disqualiﬁed under these policies will be rescinded. Waivers will be considered on a case-by-case basis,
provided there is a compelling government interest in accessing the applicant that directly supports
warﬁghting capabilities. The applicant must be willing and able to adhere to all applicable standards,
including the standards associated with the applicant’s sex.

Will cadets or midshipmen be required to reimburse the government for their education?
No. Absent any other basis for separation or disenrollment, such individuals will not be subject to monetary
repayment of educational beneﬁts (i.e., recoupment) nor subject to completion of a military service
obligation.




                                              RETENTION


Will Service members currently serving with a diagnosis of gender dysphoria be allowed to continue to
serve?
No. Service members who have a current diagnosis or history of, or exhibit symptoms consistent with,
gender dysphoria and any Service members who have a history of cross-sex hormone therapy or sex



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reassignment or genital reconstruction surgery as treatment for gender dysphoria, in pursuit of a sex
transition, will be processed for administrative separation.

Will any waivers be permitted?
Service members may be considered for a waiver on a case-by-case basis, provided there is a compelling
government interest in retaining the Service member that directly supports warﬁghting capabilities and the
Service member concerned meets the following criteria (1) the Service member demonstrates 36
consecutive months of stability in the Service member’s sex without clinically signiﬁcant distress or
impairment in social, occupational, or other important areas of functioning; (2) the Service member
demonstrates that he or she has never attempted to transition to any sex other than their sex; and (3) the
Service member is willing and able to adhere to all applicable standards, including the standards associated
with the Service member’s sex.



                                               SEPARATION


Will Service members diagnosed with gender dysphoria be honorably discharged?
Yes. Characterization of service will be honorable except where the Service member’s record otherwise
warrants a lower characterization.

Are Service members separated under this policy eligible for separation pay?
Yes. Service members who elect to voluntarily separate within 30 days following the signature of this
guidance may be eligible for voluntary separation pay in accordance with applicable law and Department
policy. Service members eligible for voluntary separation pay will be paid at a rate that is twice the amount
the Service member would have been eligible for in involuntary separation pay.

Service members who choose to be involuntarily separated may be provided full involuntary separation pay
in accordance with applicable law and Department policy.

                       Common Example       Involuntary Sep. Pay    Voluntary Sep. Pay
                        E-5 w/10 YOS              $50,814               $101,628
                         O-3 w/7 YOS              $62,612               $125,224


Will Service members being separated under this policy be aﬀorded a separation board?
All enlisted Service members who are involuntarily separated pursuant to this policy will, if desired by the
Service member, be afforded an administrative separation board. All officers who are involuntarily
separated pursuant to this policy will be afforded a Board of Inquiry, if desired by the officer, in
accordance with applicable law.

Will Service members being separated under this policy be eligible for the Temporary Early Retirement
Authority?
Yes, Service members with over 18 but less than 20 years of total active duty service are eligible for early
retirement under the Temporary Early Retirement Authority in accordance with Department policy.

Will Service member being separated under this policy remain eligible for TRICARE beneﬁts?



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Eligible Service members (including active-duty Service members and Reserve or National Guard members
when on active duty orders for 30 or more consecutive days) who are processed for separation pursuant to
this policy, and their covered dependents, remain eligible for TRICARE for 180 days in accordance with
applicable law.

Are Service members separated under this policy eligible to participate in the Transition Assistance
Program?
Yes. Service members, whether separated voluntarily or involuntarily are eligible for the Transition
Assistance Program.

Will Service members separated under this policy have to repay any bonuses received prior to their
separation?
Service members choosing to voluntarily separate will not have to repay any bonuses received prior to the
date of this memorandum, even if they have a remaining service obligation, pursuant to applicable law.

The Military Departments may recoup any bonuses received prior to the date of this memorandum for
Service members choosing to be involuntarily separated.

Will the Secretaries of the Military Departments waive any remaining military service obligations?
Yes. The Secretaries of the Military Departments will waive any remaining military service obligation for
Service members who are separated pursuant to this policy.

If Service members are required to serve in their sex, will Service members separated with gender
dysphoria who have already had sex reassignment surgery be required to serve in their sex?
The Secretaries of the Military Departments may place a Service member being separated under this policy
in an administrative absence status until their separation is complete. Service members in this status will be
designated as non-deployable.

Will the records for Service members being separated under this policy be updated to reﬂect their sex?
Yes. All military records, regardless of whether a Service member is being separated under this policy, will
reﬂect the Service member’s sex.

Will the records for Service members being separated under this policy be updated to reﬂect their name
at birth?
All military records will reﬂect the Service member’s legal name.



                                         MEDICAL PROVIDERS


Will Service members being separated under this policy be allowed to continue hormone therapy?
Cross-sex hormone therapy for Service members who have a current diagnosis or history of, or exhibit
symptoms consistent with, gender dysphoria that began prior to the date of this guidance may, if
recommended by a DoD health care provider to prevent further complications, be continued until
separation is complete.

REFERENCES


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Executive Order 14168, Defending Women from Gender Ideology Extremism and Restoring Biological Truth to the
Federal Government, January 20, 2025

Executive Order 14183, Prioritizing Military Excellence and Readiness, January 27, 2025

Secretary of Defense Memorandum, “Prioritizing Military Excellence and Readiness,” February 7, 2025

Under Secretary of Defense for Personnel and Readiness Memorandum, “Additional Guidance on
Prioritizing Military Excellence and Readiness,” February 26, 2025

RESOURCES

Executive Orders: Guidance for Federal Personnel & Readiness Policies

Military OneSource: Suicide Prevention Information

VA Programs: Employment Resource




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